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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
 SWITCHBOARD APPARATUS, INC. d/b/a
 SAI ADVANCED POWER SOLUTIONS,
 INC.,
                             Plaintiff,
            v.                                                 Case No. 1:21-cv-01665
 SHANE WOLFRAM,
                            Defendant.

                               INITIAL JOINT STATUS REPORT

       Plaintiff, Switchboard Apparatus, Inc. d/b/a SAI Advanced Power Solutions, Inc., and

Defendant, Shane Wolfram, submit the following as the Initial Joint Status Report:

1.     The Nature of the Case

       a.        Identify the attorneys of record for each party, including the lead trial attorney.

For Plaintiff:
Nathan H. Lichtenstein, Esq. (ARDC #1655469) (lead trial attorney)
nlichtenstein@agdglaw.com
Benjamin E. Haskin, Esq. (ARDC #6306126) (lead trial attorney)
bhaskin@agdglaw.com
ARONBERG GOLDGEHN DAVIS & GARMISA
330 North Wabash Avenue, Suite 1700
Chicago, Illinois 60611
312-828-9600

For Defendant:
Daniel R. Saeedi, Esq. (ARDC # 6296493)
dsaeedi@taftlaw.com
Zachary R. Clark, Esq. (ARDC # 6328816)
zclark@taftlaw.com
TAFT STETTINIUS & HOLLISTER LLP
111 East Wacker Drive, 28th Floor
Chicago, Illinois 60601
312-527-4000
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Bonnie A. Lynch, Esq. (Fed. ID # 10402) (lead trial attorney)
blynch@hsblawfirm.com
Pro Hac Vice Pending
Denny P. Major, Esq. (Fed. ID # 10225) (lead trial attorney)
dmajor@hsblawfirm.com
Pro Hac Vice Pending
H. Samuel Mabry, III, Esq. (Fed. ID # 3252) (lead trial attorney)
smabry@hsblawfirm.com
Pro Hac Vice Pending
HAYNSWORTH SINKLER BOYD, P.A.
One North Main, 2nd Floor
Greenville, South Carolina 29601
864-240-3200

       b.      State the basis for federal jurisdiction.

       28 U.S.C. §§ 1332(a) and 1441(a) – diversity of citizenship

       c.      Describe the nature of the claims asserted in the complaint and any counterclaims.

        Plaintiff seeks monetary damages and injunctive relief against Defendant for the breach of
a non-solicitation agreement by soliciting and contacting Plaintiff’s customers and disclosing
confidential information. Plaintiff also alleges that Defendant violated the Illinois Trade Secrets
Act by misappropriating Plaintiff’s customer contact and pricing information and breached his
fiduciary duties by diverting business opportunities away from Plaintiff and towards a competitor
while still employment by Plaintiff.

      At the time of completion of this Initial Joint Status Report, Defendant has not yet filed an
Answer or Counterclaims in response to the Complaint.

       d.      State the major legal and factual issues in the case.

       The major legal and factual issues concern: (1) whether Defendant breached his
employment contract by contacting and soliciting Plaintiff’s clients and employees and disclosing
confidential information; (2) whether Defendant misappropriated Plaintiff’s confidential
information; and (3) whether Defendant promoted, marketed, and sold the services of a competitor
over that of Plaintiff while still employed by Plaintiff.

       e.      Describe the relief sought by the plaintiff (and counter-claimant).

       Plaintiff seeks monetary damages and injunctive relief ordering Defendant to cease the
ongoing breaches of the non-solicitation agreement, and declaring that the six-month restrictive
period has not yet begun.




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2.     Pending Motions and Case Plan

       a.     Important: state the status of service of process on each defendant.

       Defendant has been served.

       b.     Identify all pending motions.

       None at this time. At this time, Defendant anticipates filing a Motion to Dismiss.

       c.     Submit a proposal for a discovery plan, including the following information:

              i.        The general type of discovery needed;

       The parties agree that they will need fact discovery in the form of written discovery and
depositions. Plaintiff and Defendant may also require expert discovery.

              ii.       A date for Rule 26(a)(1) disclosures;

       April 30, 2021

              iii.      A date to issue the first set of written discovery requests;

       July 30, 2021

      This date takes into account time to obtain a ruling on Defendant’s anticipated Motion to
Dismiss.

              iv.       A fact discovery completion date;

       May 30, 2022

              v.        If there will be expert discovery, an expert discovery completion date,
                        including dates for the delivery of expert reports (or summaries for non-
                        retained expert testimony); and

       June 30, 2022, for initial expert reports and summaries of any non-retained expert
testimony a party intends to offer.

       July 29, 2022, for rebuttal expert reports.

       August 30, 2022, for completion of expert depositions.

              vi.       A date for the filing of dispositive motions.

       October 31, 2022




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       d.     State whether a jury trial is requested and the probable length of trial.

       A jury is requested. The parties believe a trial could last between four to six days.

       e.     State whether the parties agree to service of pleadings and other papers by
              electronic means under Federal Rule of Civil Procedure 5(b)(2)(E).

       Agreed.

3.     Consent to Proceed Before a Magistrate Judge

       a.     State whether the parties consent unanimously to proceed before a Magistrate
              Judge for all purposes, including entry of final judgment.

       No.

4.     Status of Settlement Discussions

       a.     State whether any settlement discussions have occurred;

       Yes.

       b.     Describe the status of any settlement discussions; and

       The parties have engaged in discussions that did not result in a resolution.

       c.     Whether the parties request a settlement conference.

       Not at this time.

Dated: April 8, 2021

Respectfully submitted by:

 SHANE WOLFRAM                                   SWITCHBOARD APPARATUS, INC. d/b/a
                                                 SAI ADVANCED POWER SOLUTIONS, INC.
 /s/ Daniel R. Saeedi
 One of his attorneys                            /s/ Benjamin E. Haskin
 Daniel R. Saeedi, Esq.                          One of its attorneys
 dsaeedi@taftlaw.com                             Nathan H. Lichtenstein, Esq. (ARDC #1655469)
 Zachary R. Clark, Esq.                          nlichtenstein@agdglaw.com
 zclark@taftlaw.com                              Benjamin E. Haskin, Esq. (ARDC #6306126)
 TAFT STETTINIUS & HOLLISTER LLP                 bhaskin@agdglaw.com
 111 East Wacker Drive, 28th Floor               ARONBERG GOLDGEHN DAVIS &
 Chicago, Illinois 60601                         GARMISA
 Bonnie A. Lynch, Esq. (Fed. ID # 10402)         330 North Wabash Avenue, Suite 1700
 blynch@hsblawfirm.com                           Chicago, Illinois 60611
 Pro Hac Vice Pending                            312-828-9600



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 Denny P. Major, Esq. (Fed. ID # 10225)
 dmajor@hsblawfirm.com
 Pro Hac Vice Pending
 H. Samuel Mabry, III, Esq. (Fed. ID # 3252)
 smabry@hsblawfirm.com
 Pro Hac Vice Pending
 HAYNSWORTH SINKLER BOYD, P.A.
 One North Main, 2nd Floor
 Greenville, South Carolina 29601
 864-240-3200

                                 CERTIFICATE OF SERVICE
       I certify that on the 8th day of April, 2021, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the parties who have filed an appearance in this lawsuit by
operation of the Court’s electronic filing system. Parties may access this filing through the Court’s
system.

                                               By:           /s/ Benjamin E. Haskin
                                                      Attorney for SWITCHBOARD
                                                      APPARATUS, INC. d/b/a SAI
                                                      ADVANCED POWER SOLUTIONS, INC.




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